      Case 1:25-cv-00381-ABJ         Document 110-1        Filed 04/18/25      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity             Case No. JK-cv-MNO-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                       Defendants.


                          DECLARATION OF JOSH FRIEDMAN

       I, Josh Friedman, declare as follows:

       1.      Since 2013, I have been employed at the Consumer Financial Protection Bureau,

where I work in the Office of Servicemember Affairs as a Consumer Response Specialist.

       2.      I am an Air Force veteran and continue to serve in the Air Force Reserve. Since

March 10, 2025, I was activated (ordered to active duty) to the Headquarters of the Air Force at

the Pentagon. My duties require me to work in a vault at the Pentagon where I do not have access

to my cell phone.

       3.      Yesterday, April 17, 2025, while I was on active duty at the Pentagon (taking a

break to go to the gym), I was issued a reduction-in-force notice from the CFPB, notifying me that

I am being terminated from the position I have held for more than a decade.

       4.      The Consumer Financial Protection Bureau is required to have an Office of

Servicemember Affairs as required by the Dodd Frank Act, 12 U.S.C. 5493(e). The Office is

required to educate and empower servicemembers; monitor consumer complaints by

servicemembers; and coordinate with other federal and state agencies to assist servicemembers.
      Case 1:25-cv-00381-ABJ          Document 110-1        Filed 04/18/25      Page 2 of 2




My Bureau work includes performing these statutory responsibilities, including monitoring

complaints and coordinating with federal agencies such as the DoD, VA, and DOJ.

       5.      It is my understanding that all or nearly all of the Office of Servicemember Affairs

has been RIFd. The Office will not be able to perform its statutory duties if it does not have

adequate, experienced staffing.

       6.      It is also my understanding that several other veterans, including those in Office of

Servicemember Affairs, were RIFd as well. I have personal knowledge of at least 5 veterans who

were RIFd yesterday.

       I declare under penalty of perjury, pursuant to JN U.S.C. § Ofgh, that the foregoing is true

and correct.

Executed on April Of, JiJK.


                                                             /s/ Joshua Friedman
                                                             Joshua Friedman




                                                 2
